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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  CAROL ROXANNE HUNT,

        Plaintiff,                                           Case No. 1:17-cv-01761-WTL-DML
  v.
                                                            Honorable Judge William T. Lawrence
  ENCORE RECEIVABLE MANAGEMENT,
  INC.,

       Defendant.


               AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, CAROL

 ROXANNE HUNT, and the Defendant, ENCORE RECEIVABLE MANAGEMENT, INC.,

 through their respective counsel that the above-captioned action is dismissed, with prejudice, against

 ENCORE RECEIVABLE MANAGEMENT, INC., pursuant to settlement and Federal Rule of

 Civil Procedure 41. Each party shall bear its own costs and attorney fees.

 Dated: January 24, 2018                                Respectfully Submitted,

 CAROL ROXANNE HUNT                                    ENCORE RECEIVABLE
                                                       MANAGEMENT, INC.
 /s/ Nathan C. Volheim                                 /s/ David M. Schultz (with consent)
 Nathan C. Volheim                                     David M. Schultz
 Counsel for Plaintiff                                 Counsel for Defendant
 Sulaiman Law Group, LTD                               Hinshaw & Culberston
 2500 S. Highland Avenue, Suite 200                    222 North LaSalle Street, Suite 300
 Lombard, Illinois 60148                               Chicago, IL 60601
 Phone: (630) 575-8181                                 Phone: (312) 704-3001
 Fax :(630) 575-8188                                   dschultz@hinshawlaw.com
 nvolheim@sulaimanlaw.com
